      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 1 of 19



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 BAYOU CITY WATERKEEPER,                         §
                                                 §
                                Plaintiff,       §
 v.                                              §    CIVIL ACTION NO.
                                                 §
 CITY OF HOUSTON,                                §
                                                 §
                                Defendant.       §
                                                 §

                     Plaintiff Bayou City Waterkeeper’s Original Complaint

                                         I.   Introduction

1.     Bayou City Waterkeeper (“Waterkeeper”) brings this citizen suit against the City of

Houston (the “City”) under the Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seq.,

also known as the Clean Water Act (“CWA” or “Act”). Waterkeeper asks this Court to enter

declaratory and injunctive relief, civil penalties, and other relief to correct the City’s recurring,

unauthorized discharges, sanitary sewer overflows (“SSOs”), and bypasses of untreated

wastewater into area waterways.

2.     Over the last five years, the City has self-reported more than 9,300 SSOs and bypasses at

its municipally-owned wastewater treatment plants and collection systems, which have spilled

sewage-contaminated water into area waterways. Sewage is a pollutant under the CWA, and

untreated wastewater discharges may have a significant impact on water quality and human health.

Each of the City’s recurring, unauthorized wastewater discharges, SSOs, and bypasses violates the

CWA, as well as the terms of the City’s Texas Pollutant Discharge Elimination System (“TPDES”)

permits. The City’s discharges are continuing and likely to recur.

3.     The City has not taken adequate steps to address and prevent its recurring wastewater

discharges, SSOs, and bypasses, and neither the U.S. Environmental Protection Agency (“EPA”)
                                                     1
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 2 of 19



nor the State of Texas has diligently prosecuted the City’s legal violations. The City last entered a

Compliance Agreement (“CA”) with the Texas Commission on Environmental Quality (“TCEQ”)

in 2005 to address some of its longstanding wastewater disposal problems. Under that CA and

pursuant to the “Wastewater Collection System Sanitary Sewer Overflow Plan and Schedule,” the

City reportedly upgraded, cleaned, and renewed some of its sewer pipes and infrastructure.

According to the City, all work under the CA was completed by June 2016. As evidenced by the

City’s continuing legal violations numbering in the thousands, the work undertaken under the 2005

CA fell far short of resolving the City’s problem.

4.     As part of its mission, Waterkeeper is committed to promoting regional water quality by

identifying and targeting sources of pollution, including the raw, untreated sewage that enters the

Houston area’s creeks, rivers, bays, estuaries, other waterways, and surrounding land through the

City’s wastewater treatment and collection facilities. Waterkeeper’s members and supporters live

near and regularly use and enjoy Houston’s creeks, rivers, bays, estuaries, other waterways, and

surrounding land for recreational and aesthetic purposes, including those that are the subject of

this complaint. The City’s unauthorized discharges have had a detrimental effect on, and pose an

ongoing threat to, water quality and public health in the Houston area and have caused significant

damage to the waters that Waterkeeper’s members use and enjoy.

5.     In an effort to redress the City’s long-standing, ongoing problem, Waterkeeper brings this

citizen suit against the City under the CWA. See 33 U.S.C. § 1365(a)(1).

                                   II.   Jurisdiction & Venue

6.     This Court has subject matter jurisdiction over this action under 28 U.S.C § 1331 (federal

question) and 33 U.S.C. § 1365(a) (CWA citizen suit to enforce effluent standards or limitations).

The relief requested is authorized by 28 U.S.C. §§ 2201 and 2202 (further necessary or proper



                                                     2
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 3 of 19



relief based on a declaratory judgment), 33 U.S.C. §§ 1319(b), 1365(a) (injunctive relief), and 33

U.S.C. §§ 1319(d), 1365(a) (civil penalties).

7.     Venue is proper under 28 U.S.C. § 1391(b)(1), (2) and 33 U.S.C. § 1365(c) because the

City, its wastewater treatment and collection systems, and its unauthorized discharges all are

located or occurred in the Houston Division of the Southern District of Texas.

                                            III.    Notice

8.     Waterkeeper has complied with the CWA’s statutory notice requirements. See 33 U.S.C. §

1365(b)(1)(A). On July 23, 2018, in a letter sent by certified mail to Sylvester Turner, the City’s

mayor, Waterkeeper gave the City notice of the violations identified in this complaint and of its

intent to file suit after sixty days should those violations continue. A true and correct copy of the

notice letter, with documentation of its postmark and receipt, is attached as Exhibit 1.

9.     Waterkeeper also mailed a copy of its notice letter by certified mail to the Administrator

of the EPA, the Regional Administrator for EPA Region 6, the State of Texas through the Texas

Attorney General, and the Executive Director of Texas Commission on Environmental Quality

(“TCEQ”).

10.    Sixty days have passed since Waterkeeper served the City and federal and state agencies

with notice of its intent to sue for the violations described in this complaint.

11.    Neither the EPA nor the State has commenced or is diligently prosecuting an action to

redress the violations described in Waterkeeper’s notice letter and alleged in this complaint.

12.    The violations identified in the notice letter are continuing at this time and are reasonably

likely to continue in the future.




                                                      3
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 4 of 19



                                        IV.    Parties

                               Plaintiff Bayou City Waterkeeper

13.    The plaintiff Bayou City Waterkeeper is a 501(c)(3) non-profit organization incorporated

in the State of Texas that was founded in 2001 as Galveston Baykeeper and has its headquarters in

Houston, Texas. Part of Waterkeeper’s mission is to promote local water quality by identifying

and targeting sources of pollution, including the raw untreated sewage that enters the Houston

area’s creeks, rivers, bays, estuaries, other waterways, and surrounding land through the City’s

wastewater treatment facilities and collection systems.

14.    Waterkeeper is a licensed member of the Waterkeeper Alliance, which connects and

supports local Waterkeeper programs to champion fishable, swimmable, and drinkable waterways

worldwide.

15.    Waterkeeper is a membership-based organization and has approximately 275 members

who are residents of the City of Houston. Waterkeeper’s members, supporters, and staff

(collectively “members”) regularly use and enjoy the waters in and around Houston, including the

waters affected by the violations at issue in this complaint. Waterkeeper’s members engage in

outdoor recreation, such as canoeing, hiking, walking, fishing, birdwatching, picnicking, and

photography and other recreational, aesthetic, educational, environmental, scientific, and

vocational activities of interest near and in the waterways, areas, and watersheds comprising the

Lower Galveston Bay watershed in the Houston area, such as Armand Bayou, Addicks and Barker

Reservoirs, Brays Bayou, Buffalo Bayou, Carpenters Bayou, Cedar Bayou, Clear Creek, Cypress

Creek, Greens Bayou, Hunting Bayou, Little Cypress Creek, the San Jacinto River, Sims Bayou,

Vince Bayou, and White Oak Bayou (hereinafter, “Lower Galveston Bay Watershed”).

Waterkeeper’s members regularly use and enjoy areas and waterways in the Lower Galveston Bay

Watershed and plan to continue to use and enjoy them for recreational, educational, environmental,
                                                    4
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 5 of 19



scientific, and vocational purposes in the future and have specific and near-term plans to return to

use them for the uses described above.

16.    By regularly and repeatedly discharging untreated wastewater into and near area

waterways, the City has diminished Waterkeeper members’ ability to use and enjoy these

waterways for a variety of activities in the areas adjacent to the discharges as well as areas

upstream and downstream from the discharges that are ecologically and hydrologically connected

to areas most directly affected by the City’s discharges.

17.    Ongoing pollution from the City also deters Waterkeeper members from using and

enjoying such waters as they otherwise would because of reasonable and scientifically-based

concerns about the adverse effects of the City’s discharges. The City’s violations cause a

reasonable fear of pollution in the City’s waterways and Lower Galveston Bay Watershed that

reduces the ability of Waterkeeper’s members to recreate in the waterways. The City’s violations

also adversely impact water quality which harms the ability of Waterkeeper’s members to observe

and otherwise enjoy the aquatic, bird, and other wildlife species.

18.    Waterkeeper has had to dedicate its limited organizational resources to identifying and

tracking the City’s actions that do not comply with the CWA. The City’s unpermitted discharges

have directly injured Waterkeeper’s organizational interests in promoting water quality in local

waterways.

19.    For these reasons, both Waterkeeper and its members have aesthetic, recreational,

educational, environmental, scientific, and vocational interests that have been, are being, and will

continue to be adversely affected and irreparably harmed by the City’s ongoing CWA violations.

These actual and potential injuries have been, are being, and will continue to be caused by the




                                                     5
       Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 6 of 19



illegal discharges from the City’s wastewater treatment and collection systems into waters of the

United States. Waterkeeper therefore is suing on behalf of itself and its members.

20.     The relief sought by this complaint will redress the harms to Waterkeeper and its members

caused by the City’s unlawful discharges. The injuries are unlikely to be redressed except by an

order from this Court requiring the City to take immediate and substantial action to stop the

unpermitted discharges and flow of pollutants into local waterways and to comply with other relief

that this Court deems necessary.

21.     If successful, this action also will result in civil penalties that will deter future violations

that would threaten Waterkeeper’s and its members’ use and enjoyment of the Lower Galveston

Bay Watershed, including areas and waters adjacent to, upstream, and downstream from the

locations where the City’s violations have occurred.

22.     Waterkeeper and its members suffer actual, concrete injuries that are fairly traceable to the

City’s violations and are redressable by this Court. Waterkeeper has no other adequate remedy at

law.

23.     Waterkeeper is located at 2010 N. Loop W., Suite 275, Houston, Texas 77018.

                                    Defendant City of Houston

24.     The defendant City of Houston owns and operates the sanitary sewer treatment facilities

and collection system that are the source of the violations described in this complaint. The City

encompasses much of the Lower Galveston Bay Watershed, into which the City’s untreated

discharges flow.

25.     The City of Houston is a municipality in the State of Texas and as defined under CWA

section 502(4), 33 U.S.C. § 1362(4). The City therefore is a “person” under CWA section 502(5),




                                                       6
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 7 of 19



33 U.S.C. § 1362(5) and subject to citizen suit enforcement under the CWA. See 33 U.S.C. §

1365(a)(1).

26.    The City’s mayor is Sylvester Turner, whose mailing address is P.O. Box 1562, Houston,

TX 77251.

                                    V.    Legal Background

                                      The Clean Water Act

27.    Congress enacted the CWA to “restore and maintain the chemical, physical, and biological

integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). To achieve this goal, the Act prohibits “the

discharge of any pollutant” into navigable waters, except as authorized by the CWA. 33 U.S.C. §

1311(a).

28.    The CWA establishes the National Pollutant Discharge Elimination System (“NPDES”)

under which the Administrator of the EPA or an authorized State can issue NPDES permits, which

allow the lawful discharge of pollutants subject to certain conditions. 33 U.S.C. § 1342. In Texas,

the TCEQ has the authority to issue NPDES permits through the TPDES permitting program.

29.    TPDES permits impose limitations on the discharge of pollutants, and establish related

monitoring and reporting requirements, in order to improve the cleanliness and safety of the

Nation’s waters. Each violation of a TPDES permit violates the CWA and is grounds for

enforcement action. 33 U.S.C. §§ 1311(a), 1365(f).

30.    Each “discharge of any pollutant” that is not authorized by a permit also violates the CWA.

33 U.S.C. §§ 1311(a), 1365(f). The “discharge of any pollutant” means “any addition of any

pollutant to navigable waters from any point source…” 33 U.S.C. § 1362(1). The term “pollutant”

includes “sewage.” 33 U.S.C. § 1362(6). The term “point source” includes “any discernible,

confined and discrete conveyance” from which pollutants may be discharged, including “any pipe,

ditch, channel, tunnel, conduit, well [and] discrete fissure.” 33 U.S.C. § 1362(14). The term
                                                     7
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 8 of 19



“navigable waters” means waters of the United States, including the territorial seas. 33 U.S.C. §

1362(7). Thus, under the Act, unpermitted discharges of sewage-contaminated wastewater from

collection system pipes, channels, pumps, wells, and other conveyances into navigable waters are

unlawful and subject to an enforcement action.

31.    The holder of a TPDES permit is subject to both federal and state enforcement action for

failure to comply with the limitations imposed in the permit. 33 U.S.C. §§ 1319, 1342.

                                         Citizen Enforcement

32.    The CWA authorizes any citizen to file a civil action to enforce an effluent standard in an

NPDES (or TPDES) permit, subject to certain limitations. 33 U.S.C. § 1365(a), (b). Subsection (a)

of the citizen suit provision, entitled “Authorization; jurisdiction,” instructs: “Except as provided

in subsection (b) of this section..., any citizen may commence a civil action on his own behalf...

against any person... who is alleged to be in violation of... an effluent standard or limitation under

this chapter.” 33 U.S.C. § 1365(a)(1).

33.    The CWA defines the term “an effluent standard or limitation under this chapter” to mean,

among other things, “a permit or condition thereof issued under, which is in effect under [section

402 of the CWA].” 33 U.S.C. § 1365(f).

34.    CWA section 505, 33 U.S.C. § 1365, empowers citizens to seek remedies for unpermitted

discharges violating Section 301 of the CWA, 33 U.S.C. § 1311, and for violations of NPDES

permit conditions. This section also authorizes citizens to seek injunctive relief.

35.    Each separate violation of the CWA subjects the violator to a penalty of up to $37,500 per

day per violation for all violations occurring on or before November 1, 2015, pursuant to sections

309(d) and 505(a) of the CWA. 33 U.S.C. §§ 1319(d), 1365(a), and 40 C.F.R. § 19.4 (2009)

(Adjustment of Civil Monetary Penalties for Inflation). Violations occurring after November 2,



                                                      8
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 9 of 19



2015 are subject to escalating penalties of up to $53,484 per violation occurring during 2018, as

provided by 33 U.S.C. §§ 1319(d) and 1365(a), and the Adjustment of Civil Monetary Penalties

for Inflation, 40 C.F.R. pt. 19.

36.     Section 505(d) of the CWA, 33 U.S.C. § 1365(d), allows prevailing or substantially

prevailing parties to recover litigation costs, including attorney fees and expert witness fees.

37.     The CWA subjects citizen suits to two limitations. 33 U.S.C. § 1365(b). First, sixty days

before filing a citizen suit, the citizen must give notice of the alleged violation to the alleged

violator, the EPA, and the State in which the alleged violation occurs. § 1365(b)(1)(A). Sixty days

after giving notice, citizens may bring an action in federal district court to enforce any ongoing

violations of the CWA. The Supreme Court has stated that “the purpose of notice to the alleged

violator is to give it an opportunity to bring itself into complete compliance with the Act and thus

. . . render unnecessary a citizen suit.” Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found.,

Inc., 484 U.S. 49, 60 (1987). Furthermore, “[t]he requirement that notice be given to the

responsible officials highlights their primary role in enforcing the Act compared to the

supplementary position of the citizen.” Hamker v. Diamond Shamrock Chem. Co., 756 F.2d 392,

396 (5th Cir. 1985).

38.     Second, the Act bars a citizen suit if the EPA or State “has commenced and is diligently

prosecuting a civil or criminal action in a court of the United States, or a State to require

compliance with the standard, limitation, or order.” 33 U.S.C. § 1365(b)(1)(B). A preexisting

consent decree will not bar a citizen suit where a defendants’ legal violations continue even after

entry of that consent decree. See La. Envtl. Action Network v. City of Baton Rouge, 677 F.3d 737,

750 (5th Cir. 2012).




                                                      9
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 10 of 19



39.     Where, as here, the EPA or State fails to act within the sixty-day notice period, a citizen

suit is appropriate. See Envtl. Conservation Org. v. City of Dallas, 529 F.3d 519, 526 (5th Cir.

2008) (“The citizen-suit provision is a critical component of the CWA’s enforcement scheme, as

it ‘permit[s] citizens to abate pollution when the government cannot or will not command

compliance.’”) (alteration in original).

                                              VI.     Facts

40.     Waterkeeper fully incorporates Exhibit 1¸ including all attachments to Exhibit 1, into this

complaint.

41.     The Houston area includes several major watersheds through which countless channels,

rivers, creeks, and bayous drain to the Lower Galveston Bay Watershed. Residents depend on the

area’s waterways and their surrounding areas for recreational and aesthetic activities, including

swimming, boating, fishing, picnicking, walking, and wildlife observation, for scientific and

educational activities, and for the vocational and economic benefits of commercial and sport

fishing and tourism.

42.     The City of Houston operates 39 wastewater facilities around the Houston area. Its city-

wide system comprises 6,100 miles of sewer lines and 383 lift stations that can move an average

of 250 million gallons of wastewater per day to local plants for treatment before being discharged

into area bayous and lakes.1 Like many municipal wastewater systems, Houston’s system is

designed to collect, treat, and then discharge wastewater to waters of the United States. Each

facility is governed by the terms of its own TPDES permit. 2



1 City of Houston, Wastewater Operations, https://www.publicworks.houstontx.gov/pud/wwops.html (last visited
Sept. 19, 2018).
2 The permits at issue in this lawsuit are TPDES permit nos. 10495-002; 10495-003; 10495-009; 10495-010; 10495-

016; 10495-023; 10495-030; 10495-037; 10495-050; 10495-065; 10495-075; 10495-076; 10495-077; 10495-078;
10495-079; 10495-090; 10495-095; 10495-099; 10495-100; 10495-101; 10495-109; 10495-110; 10495-111; 10495-
112; 10495-116; 10495-119; 10495-122; 10495-126; 10495-133; 10495-135; 10495-136; 10495-139; 10495-142;

                                                          10
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 11 of 19



43.     Each of the City’s TPDES permits require that the City operate and maintain its wastewater

treatment facilities and all of its systems of collection, treatment, and disposal to prevent

unauthorized discharges of untreated wastewater, including SSOs and bypasses.

44.     The City’s TPDES permits each also prohibit a bypass of the treatment system, with

exceptions not relevant here. A bypass is an intentional discharge of wastewater that has not been

fully treated.

45.     The City’s permits require the City to self-report any unauthorized discharges. By

complying with the self-reporting requirement, however, the City does not evade the CWA’s

prohibition on unauthorized discharges. Rather, each self-reported discharge represents an

independent, potential violation of the CWA by the City.

46.     From July 24, 2013 to June 7, 2018, the City self-reported over 9,300 discharges, bypasses,

and SSOs from its wastewater systems. The attachments to Exhibit 1 detail these violations. 3 This

data confirms that the City regularly violates the CWA and the terms of its TPDES permits.

47.     The data documented in the attachments to Exhibit 1 also confirms that the City’s

discharges, SSOs, and bypasses have occurred repeatedly, with incidents in nearly every month

for which data was provided in the past five years. The City’s ongoing and continuous violations

show that the City has not operated and maintained its wastewater collection system to prevent the

unauthorized discharge of untreated wastewater in violation of the CWA and its TPDES permits.




10495-146; 10495-148; 10495-149; 10495-150; 10495-151. As explained in footnote 2 below, potential violations
associated with permit no. 14650-001 are not included in this complaint.
3 This complaint excludes three important sets of data: (1) 53 known SSOs that occurred between August 26 and

September 4, 2017 that Waterkeeper determined are potentially associated with Hurricane Harvey; (2) an unknown
number of SSOs occurring after November 30, 2015 and before February 13, 2016 because this data is not available
from the TCEQ due to what seems to be the TCEQ’s failure to maintain records during a change in format of reporting
and recordkeeping databases; (3) an unknown number of SSOs associated with Houston’s West Lake Houston
Wastewater Treatment Facility (Permit No. 14650-001) because this data was not made available to Waterkeeper as
of the date of this notice letter. Waterkeeper reserves the right to amend this complaint to include violations if
additional data reveals further CWA violations by the City.

                                                            11
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 12 of 19



48.    The City’s permit violations are not geographically isolated and occur across the City. The

map on page 6 of Exhibit 1 depicts the locations of the City’s wastewater treatment facilities in

the Houston area. The table on page 5 of Exhibit 1, and reproduced below, shows that the SSOs

and bypasses are associated with all of the City’s wastewater treatment facilities addressed in this

complaint:




                                                    12
Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 13 of 19



 Figure 1: Approximate Number of Unauthorized SSO and Bypass Discharges from
 City of Houston wastewater treatment plants occurring from July 2013 to June 2018.

                      WWTP                  TCEQ       Number of
                                            Permit     Discharges
       1     Sims Bayou                 10495-002            1,601
       2     Almeda Sims                10495-003              926
       3     Chocolate Bayou            10495-009              238
       4     Clinton Park               10495-010               23
       5     FWSD #23                   10495-016              499
       6     Homestead                  10495-023               82
       7     West District              10495-030              294
       8     Southwest                  10495-037              886
       9     WCID #47                   10495-050               89
       10    Easthaven                  10495-065               44
       11    Sagemont                   10495-075               86
       12    Northwest                  10495-076              427
       13    Northeast                  10495-077              224
       14    Intercontinental Airport   10495-078                 3
       15    Southeast                  10495-079               56
       16    69th Street                10495-090            2,330
       17    WCID #111                  10495-095               64
       18    White Oak                  10495-099               81
       19    Northgate                  10495-100               50
       20    Imperial Valley            10495-101               87
       21    Turkey Creek               10495-109              121
       22    Greenridge                 10495-110               86
       23    Beltway                    10495-111              226
       24    Cedar Bayou                10495-112               16
       25    Upper Brays                10495-116              101
       26    Keegans Bayou              10495-119              308
       27    Northbelt                  10495-122               37
       28    Willowbrook                10495-126               11
       29    HCMUD #203                 10495-133              122
       30    Park Ten                   10495-135                 7
       31    Metro Central              10495-136               37
       32    Westway                    10495-139               13
       33    Kingwood West              10495-142                 2
       34    Kingwood Central           10495-146               26
       35    Tidwell Timbers            10495-148               12
       36    Forest Cove                10495-149                 8
       37    WCID #76                   10495-150               42
       38    Willow Run                 10495-151               54
                                                     TOTAL: 9,319


                                         13
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 14 of 19



49.    The City’s unlawful SSOs and bypasses contribute pollutants to waters of the United

States, including those in the Lower Galveston Bay Watershed. The City’s untreated wastewater

discharges present a serious threat to water quality, human health, and the biological integrity of

plant life and animal organisms. Nearly every identified stream segment that TCEQ monitors

within the City’s wastewater treatment plant service area is recognized by TCEQ and EPA as

impaired by bacteria. When a water body is recognized as impaired, it exceeds identified pollution

criteria and cannot fully support its designated beneficial uses, such as those in the Houston area:

recreation, aquatic life, fish consumption, and public water supply.

50.    To date, the City’s efforts to improve its wastewater collection system have not sufficed to

prevent recurring SSOs and bypasses. The City entered a Compliance Agreement with the TCEQ

in 2005 to address some of its longstanding wastewater problems. Under that CA, the City

reportedly upgraded, cleaned, and renewed some of its sewer pipes and infrastructure. According

to the City, all work under the CA was completed by June 2016. Similarly, in 1997, the City

completed work in constructing relief sewers, sewer rehabilitation, and upgrading or replacing lift

stations through the “Greater Houston Wastewater Program” or “GHWP.” As evidenced by the

City’s continuing legal violations numbering in the thousands, the work undertaken under the 2005

CA and the 1997 GHWP fell far short of resolving the City’s problem.

51.    The City’s continuing and unauthorized discharges, SSOs, and bypasses violate the CWA

and the terms of the City’s TPDES permits and have injured and will continue to injure

Waterkeeper and its members. Waterkeeper’s members use and enjoy areas and waterways in the

Lower Galveston Bay Watershed for recreational activities, including canoeing, hiking, walking,

fishing, birdwatching, photography, picnicking, and nature watching. The City’s discharges of




                                                    14
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 15 of 19



pollutants into the Lower Galveston Bay Watershed diminishes Waterkeeper’s and its members’

enjoyment of these activities and waters.

                                 VII.  First Claim for Relief
                                    (Unauthorized discharges)

52.    Waterkeeper incorporates each and every allegation set forth above.

53.    The Lower Galveston Bay Watershed encompass waters of the United States or waterways

that have a significant nexus to waters of the United States and thus are navigable waters as defined

by the CWA and controlling authority. See 33 U.S.C. § 1362(7); 40 C.F.R. § 122.2.

54.    Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the discharge of any pollutant

from any point source to waters of the United States, except for discharges in compliance with a

NPDES (or TPDES) permit issued pursuant to Section 402 of the Clean Water Act, 33 U.S.C. §

1342. Untreated wastewater is a pollutant that cannot be discharged without a permit under the

Clean Water Act. See 33 U.S.C. § 1362(6).

55.    The City’s TPDES permits only authorize the City to discharge wastewater that has been

treated according to the permits’ specific conditions and at the location of an authorized outfall.

The City’s permits expressly prohibit unauthorized discharges, including SSOs and intentional

bypasses from the wastewater collection system.

56.    The City’s treatment and collection system consists of pipes and other manmade

conveyances and is a point source under the CWA. See 33 U.S.C. § 1362(14).

57.    As described in this complaint and detailed in the attachments to Exhibit 1, since at least

July 24, 2013, the City has discharged wastewater from its collection systems on more than 9,300

separate occasions. Because the City’s TPDES permits do not authorize these discharges, each

discharge violates the CWA.




                                                     15
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 16 of 19



58.    As owner and operator of the collection system, the City is responsible for the CWA

violations alleged in this complaint and Exhibit 1 that have occurred from July 24, 2013 to the

present.

59.    Each and every one of the City’s unauthorized wastewater discharges into waters of the

United States amounts to a separate and distinct violation of Section 301(a), 33 U.S.C. § 1311(a),

and Section 402, 33 U.S.C. § 1342, of the CWA.

60.    Neither the EPA nor the State of Texas is diligently prosecuting these SSOs and bypasses.

The State’s 2005 CA has no effect on Waterkeeper’s right to bring this suit.

61.    The City’s SSOs and bypasses constitute ongoing violations of the CWA. Based on the

pattern of the City’s past SSOs and bypasses, the continuation of the SSOs and bypasses from the

time of the sixty-day notice letter to the present, and the City’s failure to adequately and completely

repair, replace, or otherwise remediate the infrastructure associated with its wastewater collection

system that has caused the SSOs and bypasses, it is reasonably likely that the City’s SSOs and

bypasses will continue with the same frequency. The City’s violations are continuing at the time

of the filing of this complaint and will continue to occur on each occasion the City discharges

SSOs and bypasses in violation of the CWA’s requirements.

62.    The City’s continuing commission of the acts and omissions alleged in this complaint

irreparably harms the waters of the United States in the Houston area, as well as Waterkeeper and

its members, for which harm they have no adequate remedy at law.

                                VIII.  Second Claim for Relief
                   (Failure to comply with the conditions of the TPDES Permit)

63.    Waterkeeper incorporates each and every allegation set forth above.

64.    Each of the City’s 38 TPDES permits that are the subject of this action contain language

that requires the City to operate and maintain its wastewater treatment facilities and all of its

                                                      16
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 17 of 19



systems of collection, treatment, and disposal to prevent unauthorized discharges of untreated

wastewater, including SSOs and bypasses.

65.    As described in this complaint and detailed in the attachments to Exhibit 1, since July 24,

2013, the City has continuously failed to operate and maintain its wastewater treatment facilities

and all of its systems of collection, treatment, and disposal to prevent unauthorized discharges of

untreated wastewater, including SSOs and bypasses. The City therefore has failed to comply with

its TPDES permits conditions.

66.    As owner and operator of the collection system, the City is responsible for violations of the

CWA alleged in this complaint and Exhibit 1 that have occurred from July 24, 2013 to the present.

67.    Each and every one of the City’s unauthorized wastewater discharges amounts to a separate

and distinct violation of its TPDES permits.

68.    Neither the EPA nor the State of Texas is diligently prosecuting these SSOs and bypasses.

The State’s 2005 CA has no effect on Waterkeeper’s right to bring this suit.

69.    The City’s SSOs and bypasses constitute ongoing violations of its TPDES permit

conditions.

70.    Because the problems at the City’s facilities and in the City’s collection systems have not

been corrected at this time, the City’s violations are at least reasonably likely to continue in the

future in the absence of the requested relief.

71.    The City’s continuing commission of the acts and omissions alleged in this complaint

irreparably harms the waters of the United States in the Houston area, as well as Waterkeeper and

its members, for which harm they have no adequate remedy at law.

                                    IX.     Prayer for Relief

72.    Bayou City Waterkeeper respectfully asks this Court to:



                                                     17
      Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 18 of 19



73.    Issue a declaratory judgment stating that the City of Houston has violated and is continuing

to violate the Clean Water Act and the conditions of its TPDES permits with its recurring

unpermitted discharges of wastewater into waters of the United States;

74.    Grant appropriate injunctive relief to ensure that the City of Houston prevents the recurring

discharge of untreated wastewater into waters of the United States and addresses the environmental

effects of the recurring discharges on these waterbodies;

75.    Retain jurisdiction over this matter until such time as the City of Houston has come into

compliance with the prohibitions, terms, and conditions of the CWA and the injunctive relief

ordered by this Court;

76.    Assess civil penalties against the City of Houston of up to $37,500 per day for violations

occurring on or before November 1, 2015. Violations occurring after November 2, 2015 are subject

to escalating penalties of up to $53,484 per violation occurring during 2018, as provided by 33

U.S.C. §§ 1319(d) and 1365(a), and the Adjustment of Civil Monetary Penalties for Inflation, 40

C.F.R. pt. 19;

77.    Award Bayou City Waterkeeper its costs, including reasonable attorney fees and expert

witness fees, as authorized under the CWA. 33 U.S.C. § 1365(d); and

78.    Grant such other and further relief as the Court deems just and proper.



       Respectfully submitted on September 21, 2018.

                                                     By: /s/ David Frederick
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                                                    18
     Case 4:18-cv-03369 Document 1 Filed in TXSD on 09/21/18 Page 19 of 19



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                                           EXHIBITS

Exhibit 1 – Plaintiff Waterkeeper’s Notice of Intent to Sue Letter (July 23, 2018) with attachments




                                                    19
